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 8                               UNITED STATES DISTRICT COURT

 9                              CENTRAL DISTRICT OF CALIFORNIA

10      LOS ANGELES PRESS CLUB et al.,          Case No. 2:25-cv-05423-HDV-E

11
                                                ORDER GRANTING TEMPORARY
12                        Plaintiffs            RESTRAINING ORDER [16]
13

14                  v.

15

16      CITY OF LOS ANGELES et al.,

17

18                        Defendants.

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 1     I.      INTRODUCTION

 2             On June 9, 2025, photojournalist Michael Nigro took his position on the Temple Street

 3     bridge, a pedestrian bridge offering a view of the protests in front of Edward R. Roybal Federal
 4     Building                                                  ¶¶ 5 6 [Dkt. No. 26]. Though he was high
 5     above the protests below, he soon heard the telltale sound of less-

 6     a pole near his head   a sound he recognized from covering conflict zones. Id. ¶ 7. Later that day,
 7     he was shot in the head with                                                                     Id.
 8     ¶ 10.
 9

10     Coup, proffer at least thirty-five troubling instances between June 6 and June 19, 2025 in which the

11     LAPD hit journalists with LLMs, exposed them to tear gas, forced them away from public places, or
12     used other forms of physical force. Plaintiffs seek a temporary restraining order prohibiting the City

13     of Los Ange

14     from closed areas, detaining or arresting journalists, and using LLMs and chemical agents against
15                   Application

16             Defendants contend in the main that these media-related incidents in June are old news, and

17     cavil                                                   such an order. Opposition to Application

18                                         The Court disagrees. Plaintiffs have shown a likelihood of
19     success on their First Amendment claims and                                                    they

20     are likely to suffer irreparable harm covering continuing protests in Los Angeles. Indeed, given the
21     fundamental nature of the speech interests involved and the almost daily protests throughout

22     Southern California drawing media coverage, the identified harm is undoubtedly imminent and

23     concrete. The Application is granted, with the modifications and additions noted below. The Court
24     will issue a briefing schedule for a preliminary injunction hearing.

25     II.     BACKGROUND
26             A.     Factual Background

27             On June 6, 2025, protestors gathered in downtown Los Angeles to protest the federal

28                                            ia from around the world scrambled to cover the protests.

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 1            This was not the          first experience with mass protest. Protests around the 2000

 2     Democratic National Convention led to a settlement setting out parameters for press access.

 3                                                              [Dkt. No. 33]. Yet, during the 2020 George
 4     Floyd protests, the LAPD fired on non-violent protestors with 40 mm and 37 mm weapons. A court
 5     in the Central District of California granted a temporary restraining order limiting the LAPD s use of

 6     such weapons and finding that the use of such weapons at close range
 7     Fourth Amendment rights. Black Lives Matter Los Angeles v. City of Los Angeles, No. CV 20-5027
 8     CBM (ASX), 2021 WL 3162706, at *1, 3 4 (C.D. Cal. Apr. 19, 2021).
 9            In response to these incidents, the California Legislature enacted new protections for media

10     covering protests. Sen. Pub. Safety Comm. Analysis, S.B. 98, 2021 2022 Reg. Sess., at 3 4. Senate

11
12

13     § 13652, limited the use of kinetic energy projectiles and chemical agents   including LLMs and tear

14     gas                                objectively reasonable to defend against a threat to life or serious
15     bodily injury to any individual, including any peace officer, or to bring an objectively dangerous and

16     unlawful situation safely and effectively under control, and only in accordance with certain

17     requirements. Cal. Penal Code § 13652(b), (d). See also Sobel Decl. ¶¶ 30 31, Ex. 80

18     (memorandum from then-LAPD Chief of Police to the Board of Police Commissioners on December
19     8, 2021, outlining the new requirements set out by SB 98 and AB 48).

20
21     LAPD repeatedly ordered journalists to leave closed areas. On June 8, LAPD officers held a group

22     of approximately 20 to 30 journalists from MSNBC, CNN, the AP, and other outlets

23
24                                              21 [Dkt. No. 22]. On June 9, the LAPD detained CNN

25     reporter Jason Carroll and his crew while they were live on air, warning that he would be arrested if
26     he returned to the area.                                             39 [Dkt. No. 19], Ex. 50 [Dkt.

27     No. 37]. On June 10, Tina Berg, a journalist with Status Coup, was forced from her position on an

28     embankment, over 100 feet from protestors. Declaration of Tina Berg                     ¶¶ 2 4 [Dkt.

                                                         3
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 1     No.

 2     of press, including a Fox News journalist and freelancers, was kettled in front of City Hall.1 Rose

 3     Decl. ¶ 48, Exs. 61 64 [Dkt. No. 37]. And on June 19, LAPD officers arrested journalist Anthony
 4     Orendorff while he was covering an ICE raid. Declaration of Anthony Orendorff
 5             ¶¶ 2 3 [Dkt. No. 21]. Despite informing Chief McDonnell that he was a journalist,

 6     Orendorff was held for four days. Id. ¶¶ 4 5.
 7            When journalists persisted in documenting the protests, it appears from the evidence
 8     presented that they faced an onslaught of projectiles and other shows of physical force. On some
 9     occasions, LAPD officers purportedly targeted individuals who were clearly identifiable as members

10     of the press. These alleged incidents                                                      ex parte

11     briefing   include the following:
12            On June 8, Lauren Tomasi of 9News Australia was speaking into a professional TV camera,

13            dozens of feet from the line of officers behind her. Rose Decl. ¶ 26, Ex. 30 [Dkt. No. 37]

14            (news footage of the incident). No protestors are visible near her. Id. Despite this, an LAPD
15            officer appears to aim at Tomasi, hitting her leg with a rubber bullet. Id.

16            On the same day, freelance journalist Sean Beckner Carmitchel, along with other journalists,

17            were forced by LAPD to leave an underground parking garage. Declaration of Sean

18            Beckner-                         -                                                      as
19            fleeing, he documented an unidentified woman photographer with press identification and

20            multiple professional cameras walking away from officers. Rose Decl. ¶ 30, Ex. 38 [Dkt.
21            No. 37]; Beckner-Carmitchel Decl. ¶ 6, Ex. 37 [Dkt. No. 37]. One LAPD officer pushed her

22            and a mounted officer ran his horse into her from behind. Id.

23            On June 9, 2025, Michael Nigro, a photographer whose work is regularly published by Getty
24            Video, AP Wire, and others, stood on a pedestrian overpass, which offered views of the

25            protest from above. Nigro Decl. ¶¶ 2, 5 6. Though he was clad in a helmet and vest clearly
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                   refers to a tactic employed by police in protests in which they use one or more police lines
28     to surround an assembly so that participants are not free to leave. Rose Decl. ¶ 47.

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 1            reading PRESS and was far from the protest activity, he heard LLMs hit a pole near his head

 2            three times. Nigro Decl. ¶¶ 5 7, 16. Later in the day, he was shot in the head by an LLM,

 3            less than ten feet from a line of officers. Id. ¶¶ 10 11, Ex. 17 [Dkt. No. 32].
 4            On June 11, photographer Montez Harris, who carried two large professional cameras and
 5            wore a visible press pass, informed an LAPD officer on horseback that he was a member of

 6
 7            the same officer ran into him with his horse and threatened to hit him with his baton for
 8            failing to disperse quickly enough. Id. ¶ 6. Another officer shot him in the back of the leg
 9            with an LLM. Id.

10            On June 14, photojournalist Héctor Adolfo Quintanar Perez was covering the aftermath of

11            the No Kings protest, wearing a large press badge and carrying two professional cameras.
12            Declaration of Héctor Adolfo Quintanar Perez                      ¶ 2 3 [Dkt. Nos. 23 24];

13            Rose Decl. ¶ 54, Ex. 13 [Dkt. No. 32]. While he was taking photos of the skirmish line, an

14            LAPD officer standing close enough to see his press badge        shot him with an LLM in the
15            knee. Perez Decl. ¶¶ 7 8; Rose Decl. ¶ 54, Ex. 10 [Dkt. No. 32] (showing the distance from

16            which the LAPD officer fired). To this day, Perez lives with pain and walks with a cane. Id.

17            ¶ 11.

18            On the same day, ABC News chief national correspondent Matt Gutman was reporting live,
19            many feet from the protestors, when an officer shoved him from behind. Rose Decl. ¶ 51,

20            Exs. 68 69 [Dkt. No. 37].
21            On other occasions, the evidence presented credibly suggests that the LAPD fired

22     indiscriminately at crowds which included members of the press. For example, on June 8, the LAPD

23                     -
24     Sergio Olmos.2 Rose Decl. ¶ 32, Ex. 40 [Dkt. No. 37]. On June 14, LAPD officers fired rubber

25     bullets into the crowd, hitting photographer Marshall Woodruff, slicing open his right eye, and
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27           -
       towards people. Rose Decl. ¶ 32 n.11.
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 1     leaving him with potentially permanent vision loss. Rose Decl. ¶ 53, Ex. 70 [Dkt. No. 37]. On the

 2     same day, an LAPD mounted officer charged 82-year-old photographer David Healy with his horse,

 3     knocking Healy to the ground and breaking one of his ribs. Rose Decl. ¶ 55, Ex. 72 [Dkt. No. 37].
 4     Other members of the media were tear gassed while among the crowds. See, e.g., Rose Decl. ¶ 44,
 5     Ex. 57 [Dkt. No. 37] (Lauren Day of ABC News reporting being tear gassed in Little Tokyo on June

 6     10); id. ¶ 57 (photojournalist Tod Seelie teargassed multiple times); Chinea Decl. ¶¶ 25 28
 7     (reporting being teargassed on June 14, without warning). As CNN anchor Erin Burnett remarked,
 8                                                                                                     were
 9                                                            Rose Decl. ¶ 38, Ex. 49 [Dkt. No. 37].

10            In total, Plaintiffs have compiled at least 35 instances in which the LAPD excluded members

11     of the media from public areas or used projectiles, tear gas, or other forms of force against them.
12            B.      Procedural Background

13            On June 16, 2025, Plaintiffs Los Angeles Press Club and Status Coup initiated the instant

14     action against the City of Los Angeles and LAPD Chief Jim McDonnell, alleging: (1) violations of
15

16     (2) violations of the Bane Act, Cal. Civ. Code § 52.1. Complaint ¶¶ 45 53 [Dkt. No. 1]. The Los

17     Angeles Press Club is a 501(c)(3) nonprofit organization, with about 1,000 member journalists in

18     Southern California, which describes itself as working to support, promote and defend quality
19     journalism

20
21            Plaintiffs filed the present Application on July 3, 2025. Plaintiffs seek an emergency order

22     directing the City and LAPD Chief McDonnell to comply with California Penal Code sections 409.7

23     and 13652. Notice of Ex Parte Application 1 [Dkt. No. 16]. In particular, Plaintiffs seek to prevent
24                        dispersing, citing, arresting, or assaulting journalists present at any demonstration,

25     march, protest, or assembly or from using LLMs or other force against journalists who pose no
26     imminent threat of serious harm, and to clarify the means by which the LAPD identifies journalists.

27     Id. Defendants oppose, contending that Plaintiffs fail to evince a pending emergency warranting ex

28     parte relief. Opposition at 1.

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 1     III.    LEGAL STANDARD

 2             A temporary restraining order is an extraordinary remedy, and Plaintiffs have the burden of

 3     proving the propriety of such emergency relief. See Mazurek v. Armstrong, 520 U.S. 968, 972
 4     (1997). A party seeking a temporary restraining order must make a clear showing (1) of a likelihood
 5     of success on the merits, (2) of a likelihood of suffering irreparable harm in the absence of

 6     preliminary relief, (3) that the balance of hardship tips in her favor, and (4) that a temporary
 7     restraining order in is in the public interest. Winter v. Natural Resources Defense Council, Inc., 555
 8     U.S. 7, 20 (2008) (articulating standard for preliminary injunction);
 9     John D. Brush & Co., Inc., 240 F.3d 832, 839 n.7 (9th Cir. 2001), overruled on other grounds by

10     Winter, 555 U.S. at 20 (noting that the standard for a preliminary injunction and a temporary

11                                                       If the party opposing injunctive relief is a
12     government entity, the third and fourth factors merge. Fellowship of Christian Athletes v. San Jose

13     Unified, 82 F.4th 664, 695 (9th Cir. 2023) (en banc). But the propriety of a temporary restraining

14     order hinges on a significant threat of irreparable injury that must be imminent in nature. See
15     Caribbean Marine Serv. Co. v. Baldridge, 844 F.2d 668, 674 (9th Cir. 1988).

16             In the Ninth Circuit, a party seeking injunctive relief may alternatively show: (1) that there

17                                                      a likelihood of suffering irreparable harm in the

18     absence of preliminary relief
19     party, and (4) the injunction is in the public interest. All. for the Wild Rockies v. Cottrell, 632 F.3d

20     1127, 1131 32 (9th Cir. 2011) (citation omitted).
21     IV.     DISCUSSION

22             A.      Standing

23             As an initial matter, Defendants contend that Plaintiffs lack standing to seek prospective
24     injunctive relief. Opposition at 7 8. Plaintiffs establish Article III standing for prospective

25     injunctive relief                                                                                   s past
26

27     Villa v. Maricopa Cty., 865 F.3d 1224, 1229 (9th Cir. 2017) (first quoting                         , 414

28     U.S. 488, 495 96 (1974), then quoting City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983)).

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 1            Plaintiffs risk of future injury is far from speculative. In Index Newspapers LLC v. United

 2     States Marshals Service, the Ninth Circuit found standing where Plaintiffs provided evidence of an

 3
 4         dozens of instances in which the [Defendants] beat plaintiffs with batons, shot them with impact
 5     munitions, and pepper sprayed them     977 F.3d 817, 826 (9th Cir. 2020); Thomas v. Cnty. of Los

 6     Angeles, 978 F.2d 504, 507 (9th Cir. 1992) (noting that
 7                                                                     ). So too here. Plaintiffs proffer
 8     declarations from nine journalists and video exhibits documenting dozens of instances in the past
 9     month where LAPD officers shot LLMs at journalists, exposed them to chemical agents, shoved

10     them, and rammed them on horseback.

11             Plaintiffs have also documented                                    [since] the date the
12     complaint was filed[.] Index Newspapers LLC, 977 F.3d at 826. For example, independent

13     journalist Anthony Orendorff avers that he was arrested on June 19, 2025 and not released under

14     June 23, 2025. Orendorff Decl. ¶¶ 2 3, 5. Plaintiffs further proffer evidence that since they filed the
15     instant Application, the LAPD has continued to restrict journalists from public areas and use force

16     against them. Supplemental Declaration of Sean Beckner-Carmitchel ( Supplemental Beckner-

17     Carmitchel Decl. ) ¶¶ 2 5, Ex. 81 [Dkt. No. 43-1] (describing how he, along with many other

18     journalists, were pushed back and kettled during a protest on July 4); Supplemental Declaration of
19     Adam Rose (                  Rose Decl. ) ¶¶ 2 6 [Dkt. No. 43-2] (describing an incident where an

20     LAPD officer shoved a photographer).
21            Protests of federal immigration policy continue in Los Angeles. 3 Declarant journalists aver

22     that they intend to continue to cover such events. Orendorff Decl. ¶

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26       See, e.g., Supplemental Beckner-Carmitchel Decl. ¶¶ 2 5 (describing protests on July 4);
       Supplemental Rose Decl. ¶¶ 2 6 (same); Amanda Castro & Jenna Sundel, Protestors Confront ICE,
27     Military in Los Angeles Park Raid, Newsweek (July 7, 2025), https://www.newsweek.com/ice-raids-
       la-protests-military-immigration-deportations-2095641.
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 3     The likelihood of repeated confrontations      together with the evidence evincing Defendants
 4     sustained pattern of conduct     suffices to show that Plaintiffs risk recurrent future injury.4
 5            B.      TRO Factors

 6                    1.         Likelihood of success on the merits
 7            Plaintiffs have amply demonstrated that they are likely to succeed on their First Amendment
 8     claims. The Supreme Court has recognized that newsgathering is an activity protected by the First
 9                     United States v. Sherman, 581 F.2d 1358, 1361 (9th Cir. 1978). See also Askins v.

10     U.S. Dep t of Homeland Sec., 899 F.3d 1035, 1044 (9th Cir. 2018)          The First Amendment

11     protects . . . the right to record law enforcement officers engaged in the exercise of their official
12     duties in public places      In asking

13                                                                                                        s the two-

14     step Press-Enterprise II test. Index Newspapers, 977 F.3d at 829 (citing Press-Ent. Co. v. Superior
15     Court of Cal., 478 U.S. 1 (1986)). First, courts ask                            process has historically

16

17                                                                       Id. (quoting Press-Ent., 478 U.S. at 8).

18     If a qualified right of access exists, the government can overcome that right and bar the public
19

20     values and is narrowly tailored to                        Id. (quoting Press-Ent., 478 U.S. at 9).
21

22                   [ical] . . . traditional public forum   Snyder v. Phelps, 562 U.S. 443, 456 (2011).

23
24     preventing constitutional violations. Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 573

25
26     4
         The Court acknowledges that a temporary restraining order in a parallel case against Defendants
27     Kristi Noem and the U.S. Department of Homeland Security was denied, without prejudice as to a
       regularly noticed motion for a preliminary injunction. Los Angeles Press Club et al v. Kristi Noem,
28     et al., No. 2:25-cv-05563-SVW-MAA [Dkt. No. 19].

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 1   (1980)                                          surrogates for the publi     Leigh v. Salazar, 677 F.3d

 2   892, 900 (9th Cir. 2012)     The free press is the guardian of the public interest, and the independent

 3   judiciary is the guardian of the free press.
 4   Plaintiffs adduce evidence that the City restricted access and used LLMs and chemical agents even
 5   without any indication of public safety concerns. See, e.g., Nigro Decl. ¶¶ 10 12, 19, Ex. 17

 6   (averring that
 7                                                                                 28 (averring that the LAPD
 8   officers trampled protestors on horseback and deployed tear gas and LLMs without any dispersal
 9                                                   illegal or destructive acts ). At the very least, this raises

10   serious questions as to whether Defendants can meet their

11   access.
12             Similarly, Plaintiffs establish a likelihood of success on retaliation. The First Amendment

13   prohibits government officials from subjecting individuals to retaliation for engaging in protected

14   speech. Hartman v. Moore, 547 U.S. 250, 256 (2006). To establish a retaliatory arrest claim, a
15   plaintiff must show that: (1) they were engaged in a constitutionally protected activity; (2)

16                                                                                                          the

17

18                               Index Newspapers, 977 F.3d. at 827.
19             The parties do not meaningfully dispute that Plaintiffs were engaged in constitutionally

20   protected activities and that being arrested,                        -lethal munitions
21                                                                                            of ordinary

22   firmness from continuing to engage in the protected activity. Lacey v. Maricopa County, 693 F.3d

23   896, 917 (9th Cir. 2012); Index Newspapers, 977 F.3d. at 827 n.4. In Index Newspapers, the Ninth
24   Circuit found that Defendants use of force even when plaintiffs were standing nowhere near

25   protesters                exceptionally strong evidentiary support [that Defendants] were motivated to
26                                                                                                  977 F.3d. at

27   829. Similarly, Plaintiffs proffer several instances in which the LAPD appeared to target journalists

28   observing protestors from afar. See, e.g., Rose Decl. ¶ 26, Ex. 30 (showing an LAPD officer appear

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 1   to aim at a television anchor speaking into the camera, far from any protestors); Nigro Decl. ¶¶ 2, 5

 2   7, 16 (averring that an LAPD officer fired LLMs at him though he was on an overpass far from

 3   protestors and wearing an helmet and vest emblazoned with PRESS). This suffices to raise serious
 4   questions as to retaliation.5
 5                   2.      Irreparable harm

 6           Defendants also contend that Plaintiffs fail to establish irreparable harm because they fail to
 7   demonstrate a likelihood of prospective harm. Opposition at 5 9. For the reasons discussed above,
 8   the Court rejects this argument. See supra Part IV.A. As both the Ninth Circuit and the Supreme
 9                                      [t]he loss of First Amendment freedoms, for even minimal periods

10                                                             Klein v. City of San Clemente, 584 F.3d

11   1196, 1208 (9th Cir. 2009) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).        A] party seeking
12   preliminary injunctive relief in a First Amendment context can establish irreparable injury sufficient

13

14   Warsoldier v. Woodford, 418 F.3d 989, 1001 02 (9th Cir. 2005) (quotation marks omitted).
15   Plaintiffs have done so here.

16                   3.      Balance of hardships and public interest

17                                                                                   All. for the Wild

18   Rockies, 632 F.3d at 1131 32.
19   questions, . . . the balance of hardships tips sharply in [their] favor. Cmty. House, Inc. v. City of

20   Boise, 490 F.3d 1041, 1059 (9th Cir. 2007) (citation omitted).
21   prevent the violation of a party                          Index Newspapers, 977 F.3d at 838 (citation

22   omitted). In contrast, limited injunctive relief poses little additional burden to Defendants because

23   the LAPD is already required to allow journalists access to closed areas and to limit the use of LLMs
24   and chemical agents. Sobel Decl. ¶¶ 30 31, Ex. 80

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28   consider their likelihood of success on their other claims.

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 1                                                                                 becoming targets of police

 2   responses to such incidents.

 3             C.     Scope of Relief
 4             The Ninth Circuit has long held that injunctive relief
 5                     Melendres v. Arpaio, 784 F.3d 1254, 1265 (9th Cir. 2015) (quoting Lamb-Weston,

 6   Inc. v. McCain Foods, Ltd., 941 F.2d 970, 974 (9th Cir. 1991)). An injunction against state actors
 7   must not
 8   constitution. Gluth v. Kangas, 951 F.2d 1504, 1509 (9th Cir. 1991) (internal quotation marks
 9   omitted). Accordingly, the Court limits its injunctive relief to the constitutional harms on which

10   Plaintiffs have established a likelihood of success.

11             D.     Bond Requirement
12             Federal Rule of Civil Procedure 65(c) requires that, prior to granting injunctive relief, the

13   Court require a movant to pay security

14
15        espite the seemingly mandatory language, Rule 65(c) invests the district court with discretion as

16                                                  Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir.

17   2009) (quoting Jorgensen v. Cassiday, 320 F.3d 906, 919 (9th Cir. 2003)) (quotation modified).

18   Accordingly, the Court waives the bond requirement here, as it is unlikely that Defendants will incur
19   any significant cost and requiring a

20   rights, as well as the constitutional rights of other                           Baca v. Moreno Valley
21   Unified Sch. Dist., 936 F. Supp. 719, 738 (C.D. Cal. 1996) (citation omitted).

22   V.        CONCLUSION

23             T                            Application against Defendants as follows:
24        1.                                includes any duly authorized representative of any news service,

25             online news service, newspaper, or radio or television station or network.
26        2. If LAPD or another law enforcement agency establishes a police line or rolling closure at a

27             demonstration, march, protest, or rally where individuals are engaged in activity that is

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 1        protected pursuant to the First Amendment to the United States Constitution, LAPD is

 2        enjoined from:

 3            a. Prohibiting a journalist from entering or remaining in the closed areas.
 4            b. Intentionally assaulting, interfering with, or obstructing any journalist who is
 5                  gathering, receiving, or processing information for communication to the public

 6                  (including by restricting journalists to areas from which they do not have sufficient
 7                  opportunity to observe and report on protests, including the interaction between
 8                  police and protestors).
 9            c. Citing, detaining, or arresting a journalist who is in a closed area for failure to

10                  disperse, curfew violation, or obstruction of a law enforcement officer for gathering,

11                  receiving, or processing information. If LAPD detains or arrest a person who claims
12                  to be a journalist, that person shall be permitted to promptly contact a supervisory

13                  officer of the rank of captain or above for purposes of challenging that detention,

14                  unless circumstances make it impossible to do so.
15     3. LAPD is further enjoined from using less-

16                                                               s ), chemical irritants, and flash-bangs)

17        against journalists who are not posing a threat of imminent harm to an officer or another

18        person.
19     4. Within the next 72 hours, LAPD management is ordered to summarize this Order and

20        disseminate its contents to all LAPD officers responding to a protest in Los Angeles.
21     5. This Order shall expire fourteen (14) days after its filing, unless otherwise extended by the

22        Court.

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 1     6. A preliminary injunction hearing is set for July 24, 2025 at 9:00 a.m. Plaintiffs shall file their

 2         opening brief and related submissions no later than July 15, 2025. Defendants shall file their

 3         opposition no later than July 21, 2025. No reply brief will be accepted. The Court will
 4         accept a stipulated briefing schedule extending these dates on the condition that the parties
 5         agree to an extension of the temporary restraining order.

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 8   Dated: July 10, 2025
                                                        Hernán D. Vera
 9                                                      United States District Judge
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